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                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
  Case No.         CV 18-2288 JAK (SSx)                                             Date   November 6, 2018
  Title            Aerial West, LLC v. Drone World, LLC, et al.




   Present: The Honorable         SUZANNE H. SEGAL, UNITED STATES MAGISTRATE JUDGE
             Marlene Ramirez                                 CS 11/06/18                               n/a
              Deputy Clerk                            Court Reporter / Recorder                     Tape No.
                 Attorneys Present for Plaintiff:                      Attorneys Present for Defendant:
                        Robert W. Dickerson, Jr.                             Brian P. Kinder




  Proceedings:                 Settlement Conference



        The case is called. Counsel state their appearances on the record. Plaintiffs’ representative, Bill
 Palmatary and Jenna Sleefe are present. Defendant’s representative, Stephen McKenna, is also present.

          The settlement conference is conducted off the record.

       Although all parties participated in good faith, no settlement was reached at this time. The Court
encourages the parties to continue settlement discussions. If the parties believe that a further settlement
conference will facilitate a resolution of this matter, the parties shall contact Marlene Ramirez, Courtroom
Deputy Clerk, at (213) 894-3598, to arrange another settlement conference.



 cc: District Judge John A. Kronstadt




                                                                                           5         :     30
                                                                 Initials of Preparer          mr




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